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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           SOUTHERN DIVISION


 PHARMACEUTICAL RESEARCH                    §                              PLAINTIFF
 AND MANUFACTURERS OF                       §
 AMERICA                                    §
                                            §
                                            §
 v.                                         §        Civil No. 1:24-cv-160-HSO-BWR
                                            §
                                            §
                                            §
 LYNN FITCH
 in her official capacity as Attorney       §
                                            §
 General of Mississippi                                                  DEFENDANT
                                            §

 ORDER GRANTING JOINT MOTION [27] TO STAY PROCEEDINGS AND
             ADMINISTRATIVELY CLOSING CASE

        Before the Court is the Joint Motion [27] of Plaintiff Pharmaceutical Re-

search and Manufacturers of America (“Plaintiff”) and Defendant Lynn Fitch, in her

official capacity as Attorney General of Mississippi (“Defendant”), to stay proceed-

ings in this Court—including discovery—while Plaintiff’s appeal of this Court’s

Memorandum Opinion and Order [21] Denying Motion [7] for Preliminary Injunc-

tion is pending. Good cause having been shown, it is hereby ORDERED AND AD-

JUDGED that, the Joint Motion [27] is GRANTED, and proceedings in this Court

are STAYED pending final resolution of the appeal in Pharmaceutical Research

and Manufacturers of America v. Fitch, No. 24-60340 (5th Cir., filed July 5, 2024),

including any U.S. Supreme Court proceedings regarding this Court’s Order [21].

        Should the Fifth Circuit or the Supreme Court of the United States reverse,

vacate, or otherwise alter any portion of this Court’s Order [21], this stay will


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automatically and immediately dissolve upon issuance of the Fifth Circuit’s appel-

late mandate. Otherwise, the stay shall lift upon further order of this Court follow-

ing a request by either party.

      IT IS, FURTHER, ORDERED AND ADJUDGED that, in light of the

length of time that these proceedings may be stayed with no activity, this case

should be ADMINISTRATIVELY CLOSED pending resolution of this appeal.

Nothing contained in this Order shall be considered a dismissal or disposition of

this matter, and the Court retains jurisdiction over the cause of action to allow ei-

ther party to file a motion to reopen the case for further proceedings.

      SO ORDERED AND ADJUDGED, this the 4th day of September, 2024.


                                        s/ Halil Suleyman Ozerden
                                        HALIL SULEYMAN OZERDEN
                                        UNITED STATES DISTRICT JUDGE




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